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                                                       U.S. Department of Justice
                                                       lJnited States Attorney
                                                       Eastern District of Louisiana

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Assistant United States Attorney                      650 Poydras Street, Suile 1600      Fax: 501-589-4395
                                                      Netv Orleans, Louisiana 70130




                                               June 18,2024


Honorable Wendy B. Vitter
United States District Judge
Eastern District of Louisiana
500 Poydras Street, Rm. C-368
New Orleans, Louisiana 7 0130

          Re          United States v. Jovanna R. Gardner
                      Criminal Docket No. 24-105 "D"(1)

Dear Judge Vitter:

        In compliance with the holding of Bryan v. United States, 492 F.2d 775 (5th Cir. 1974),
and with Rule 11 of the Federal Rules of Criminal Procedure, the Govemment wishes to
acknowledge the following agreement between the Government and Jovanna R. Gardner, the
defendant, in the above-captioned proceeding. Defendant's undersigned counsel, Graham
Bosworth, has reviewed the terms of this agreement and has been advised by the defendant that
the defendant fully understands the terms of this agreement.

       The defendant has agreed to plead guilty to Count I of the Superseding Bill of Information,
charging the defendant with conspiracy to commit witness tampering, in violation of Title 18,
United States Code, Sections 1512(bX3) and 1512(k).

        The Government has agreed that should the Court accept the defendant's plea of guilty to
Count 1, the Government will request the Court to dismiss Counts 1 through 5 of the Indictment
at the time of sentencing. However, the defendant understands that the Court is not bound to
dismiss any count. The defendant understands that, had she been convicted of Counts 1 through
5 of the Indictment, she would have faced a maximum penalty of life imprisonment as to Counts
2 through 5, and a maximum penalty of 20 years of imprisonment as to count 1.

        The Government also agrees that it will not bring any other charges in the Eastern District
of Louisiana arising from defendant's violations of federal law prior to May 6,2024, as long as
the defendant has truthfully informed law enforcement officials of the full and complete details of


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those crimes prior to her guilty plea in this case. The defendant understands that this does not apply
to crimes of violence that the defendant may have committed.

        The defendant further understands that the maximum penalty defendant may receive should
her plea of guilty be accepted is 20 years of imprisonment and/or a fine of $250,000.00, or the
greater of twice the gross gain to the defendant or twice the gross loss to any person under Title
18, United States Code, Section 3571.

       It is also understood that the restitution provisions of Sections 3663 and3663Aof Title 18,
United States Code, will apply. The defendant agrees that any restitution imposed will be non-
dischargeable in any bankruptcy proceeding and that defendant will not seek or cause to be sought
a discharge or a finding of dischargeability as to the restitution obligation. The defendant further
acknowledges and understands that, notwithstanding any payment schedule imposed at sentencing
or during probation or supervised release, restitution is due and payable in full immediately upon
entry of the judgment of conviction.

         Further, the defendant understands that a mandatory special assessment fee of $100.00
shallbeimposedundertheprovisionsofSection30l3ofTitlel8,UnitedStatesCode. Thisspecial
assessment must be paid on the date of sentencing. Failure to pay this special assessment may
result in the plea agreement being void.

        The defendant further understands that the Court, in imposing a sentence of a term of
imprisonment, may include as part of the sentence a requirement that the defendant be placed on
a term of supervised release after imprisonment for a period of up to 3 years pursuant to Title 1 8,
United States Code, Section 3583. Supervised release is a period following release from prison
during which defendant's conduct will be monitored by the Court or the Court's designee.
Defendant fully understands that if defendant violates any of the conditions of supervised release
that the Court has imposed, defendant's supervised release may be revoked and defendant may be
ordered by the Court to serve in prison all or part of the term of supervised release.

        Defendant understands that Title 18, United States Code, Section 3742 andTitle 28, United
States Code, Section 1291, may give a criminal defendant the right to appeal her conviction,
sentence, restitution, fine, and judgment imposed by the Court. Defendant also understands that
she may have the right to file collateral challenges to her conviction and sentence, and judgment,
including but not limited to rights provided by Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, and writs of coram nobis and audita querela. Defendant further understands that Title
18, United States Code, Section 3582(c)(2), may allow the Court to grant a sentencing reduction
to the defendant if the defendant has been sentenced to a term of imprisonment based upon a
sentencing range that has been subsequently lowered by the United States Sentencing Commission
and determined to apply retroactively to defendants who already have been sentenced to a term of
imprisonment.




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         Acknowledging these rights, subject only to the exceptions indicated in subsection (d)
below, the defendant, in exchange for the promise(s) and agreement(s) made by the United States
in this plea agreement, knowingly and voluntarily:

       a.      Waives and gives up any right to appeal or contest her guilty plea, conviction,
sentence, fine, supervised release, and any restitution imposed by any judge under any applicable
restitution statute, including but not limited to any right to appeal any rulings on pretrial motions
of any kind whatsoever, as well as any aspect of her sentence, including but not limited to any and
all rights which arise under Title 18, United States Code, Section 3742 and Title 28, United States
Code, Section 1291;

       b.       Waives and gives up any right to appeal any order, decision, or judgment arising
out of or related to Title 18, United States Code, Section 3582(cX2) imposed by any judge and
further waives and gives up any right to challenge the manner in which her sentence was
determined and to challenge any United States Sentencing Guidelines determinations and their
application by any judge to the defendant's sentence and judgment;

        c. Waives and gives up any right to challenge her sentence collaterally, including but
not limited to any and all rights which arise under Title 28, United States Code, Sections 2255 and
2241, Rule 60 of the Federal Rules of Civil Procedure, Rule 36 of the Federal Rules of Criminal
Procedure, writs of coram nobis and audita querela, and any other collateral challenges to her
sentence ofany kind; and

       d.        The defendant specifically does not waive, and retains the right to bring a direct
appeal of any sentence imposed in excess of the statutory maximum. The defendant also retains
the right to raise a claim of ineffective assistance of counsel in an appropriate proceeding.

       The defendant further waives any right to seek attomey's fees and/or other litigation
expenses under the "Hyde Amendment," Title 18, United States Code, Section 3006A and the
defendant acknowledges that the Government's position in the instant prosecution was not
vexatious, frivolous or in bad faith.

        The defendant understands that any discussions with defendant's attorney or anyone else
regarding sentencing guidelines are merely rough estimates and the Court is not bound by those
discussions. The defendant understands that the sentencing guidelines are advisory and are not
mandatory for sentencing purposes. The defendant understands the Court could impose the
maximum term of imprisonment and fine allowed by law, including the imposition of supervised
release. The defendant is also aware that in determining a fair and just sentence, the Court has the
authority and discretion, pursuant to Title 18, United States Code, Sections 3553 and 3661 and
Section 181.3 of the United States Sentencing Guidelines, to consider any and all "relevant
conduct" that the defendant was involved in, the nature and circumstances of the offenses, and the
history and characteristics ofthe defendant.

       In an effort to resolve this matter in a timely fashion and show good faith, the defendant
agrees to knowingly, voluntarily, and expressly waive her rights pursuant to Rule alO(a) of the

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Federal Rules of Evidence upon signing this plea agreement and the factual basis. The defendant
understands and agrees that in the event the defendant violates the plea agreement, withdraws her
decision to plead guilty, her guilty plea is later withdrawn or otherwise set aside, any statements
made by the defendant to law enforcement agents or an attomey for the prosecuting authority
during plea discussions, any statements made by the defendant during any court proceeding
involving the defendant's plea of guilty, including any factual bases or summaries signed by the
defendant, and any leads from such statements, factual bases or summaries, shall be admissible for
all purposes against the defendant in any and all criminal proceedings.

        The defendant agrees to forfeit to the United States any right, title, and interest in all assets
subject to forfeiture under the notice(s) of forfeiture contained in the charging document, including
property specified in any bill of particulars and property previously seized by the government fbr
administrative, civil, or criminal forfeiture. The defendant further consents to the filing of a motion
for a preliminary order forfeiting such property and any dollar amount specified in the notice(s) of
forfeiture or bill of particulars, and the defendant confesses the requisite nexus between the
property and the charge(s) of conviction. The defendant hereby withdraws any petition fbr
remission or claim for such property and further waives any right to contest or appeal the
government's forfeiture proceedings for any reason, including on grounds that the fbrfeiture
constitutes an unconstitutionally excessive fine or punishment, and in any manner, including by
claim, petition, appeal, or collateral attack.

        The defendant further agrees to submit to interviews whenever and wherever requested by
law enforcement authorities regarding all assets currently or previously within defendant's
possession. It is also understood that defendant will provide any and all financial information and
documentation requested by the government, agrees to voluntarily execute a complete and
thorough Financial Statement of Debtor, and further agrees to provide the requested List of Items
that is attached to the Financial Statement. The defendant understands this information may be
provided to a representative of any victim of this offense.

       The defendant recognizes that any criminal monetary penalty, whether special assessment,
criminal fine, or restitution, that is owed as a result of her conviction will be immediately submitted
to the Treasury Offset Program. The defendant waives any objection to her inclusion in the
Treasury Offset Program.




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      The defendant understands that the statements set forth above and in the attached SEALED
document (Attachment "A") represent the defendant's entire agreement with the Government;
there are not any other agreements, letters, or notations that will affect this agreement.



                                             Very truly yours,

                                             MICHAEL M. SIMPSON
                                             Attorney for the United States
                                             Acting Under Authority Conferred
                                             By 28 U.S.C. $ 515


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                                             MATTHEW R. A                        Date
                                             BRIAN M. KLEBBA
                                             Assistant United States Attorneys
                                             J. RYAN MCLAREN
                                             Trial Attorney



             OSWORTH
Attorney for Jovanna R. Gardner

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Defendant




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